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                   21-2031
         United States Court of Appeals
             for the Second Circuit


                          NELSON PENA,

                                                         Plaintiff-Appellant,
                                  v.

         220 EAST 197 REALTY LLC, and 63 WEST L.L.C.,

                                                 Defendants-Respondents.


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
    FOR THE SOUTHERN DISTRICT OF NEW YORK
      BRIEF FOR PLAINTIFF-APPELLANT

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                     I. JURISDICTIONAL STATEMENT

      Plaintiff-Appellant Nelson Pena (“Plaintiff,” “Appellant” or “Pena”) filed

this action in the United States District Court – Southern District of New York, on

August 30, 2020, against Defendants-Appellees 220 East 197 Realty LLC and 63

West L.L.C. (collectively “Defendants,” or “Appellees”). The district court had

subject matter jurisdiction over Plaintiff’s FLSA claims under the federal Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et Seq., and pursuant to 28 U.S.C.

§§ 1331, 1337, and supplemental jurisdiction over Plaintiff’s state law claims,

including under 28 U.S.C. § 1367.

      This Court has jurisdiction under 28 U.S.C. § 1291 and its precedents.

Plaintiff timely filed his notice of appeal (A204-A205) on August 19, 2021 from

the order of the Hon. J. Paul Oetken, compelling arbitration pursuant to a union

CBA (A159-A167), in the United States District Court, Southern District of New

York, on July 23, 2021 – following the May 3, 2022 order denying Plaintiff’s

motion to vacate (A282-A283), Plaintiff filed an amended notice of appeal on May

11, 2022. (A284-A298).

      Once again, this Court has jurisdiction under 28 U.S.C. § 1291 and its

precedents. At the outset, arbitration in this case was compelled solely under the

union Collective Bargaining Agreement (“CBA”), and arbitration under a CBA is

governed by statutes specific to unions such as the Labor Management Relations


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Act (“LMRA”), and the National Labor Relations Act (“NLRA”) - not the Federal

Arbitration Act (“FAA”). In this regard, the Second Circuit in Coca-Cola Bottling

Co. of New York v. Soft Drink & Brewery Workers Union Loc. 812 Int'l Bhd. of

Teamsters, 242 F.3d 52, 54 (2d Cir. 2001), stated in relevant part as follows:

             the Union asks us to hold that the district court's order directing
             arbitration is therefore not appealable pursuant to Section 16 of the
             FAA. However, we have jurisdiction because the FAA does not apply.

      See also, 42nd & 10th Hotel, LLC v. New York Hotel & Motel Trades

Council, AFL-CIO, No. 1:21-CV-6250 (MKV), 2022 WL 955477, at *4 (S.D.N.Y.

Mar. 30, 2022) (“As a threshold matter, the Court notes that the LMRA, not the

FAA, governs the Court's review of Petitioner's motion to vacate the labor

arbitration award.”). In Coca-Cola, 242 F.3d 52 at 56, the Second Circuit stated

further as follows:

             We therefore have jurisdiction over this appeal. Although we are not
             bound by a judgment's description of itself as “final,” the district court
             has clearly stated that no further proceedings will be conducted in this
             matter, and the judgment is therefore final and appealable under 28
             U.S.C. § 1291.

      Similarly, the district court has pushed this case out of the courthouse –as

such, in the district court “no further proceedings will be conducted in this matter,

and the judgment is therefore final and appealable under 28 U.S.C. § 1291.” Coca-

Cola, 242 F.3d 52 at 56.




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      Next, even if the FAA applied, this Court still has jurisdiction in the unique

circumstances of this case. In this regard, as explained below, because the

Defendants unlawfully and egregiously failed to report Plaintiff and his

employment to the union, and even sought to conceal this failure from the Court

and Plaintiff, arbitration is no longer possible or feasible and Defendants have

defaulted in the arbitration process by concealing the union, the CBA and the

arbitration provision from Plaintiff during his employment. See i.e. Pre-Paid Legal

Servs., Inc. v. Cahill, 786 F.3d 1287, 1294 (10th Cir. 2015)(“9 U.S.C. § 3. Section

3 does not require a stay when the applicant for the stay is in default.”). See also

Cota v. Art Brand Studios, LLC, No. 21-CV-1519 (LJL), 2021 WL 4864588,

(S.D.N.Y. Oct. 15, 2021)(“To grant a stay in these circumstances would be to place

the parties in a perpetual state of uncertainty—unable to proceed with the

arbitration pursuant to that tribunal's rules but also unable to proceed with a

litigation because the arbitration has not reached its conclusion. Sink, 352 F.3d at

1201”). Moreover, Defendants in their notice of motion requested a dismissal and

not a stay. (A19).

      In the alternative, this Court would have jurisdiction under the collateral

order doctrine. See Liberty Synergistics Inc. v. Microflo Ltd., 718 F.3d 138, 143

(2d Cir. 2013). This Court would also have jurisdiction because it can treat this

appeal as a petition for a writ of mandamus. See In re Repetitive Stress Injury


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Litigation, 35 F.3d 637 (2d Cir. 1994). The requirements for a writ of mandamus

are more easily satisfied in this case than in the very recent case of United States v.

Prevezon Holdings Ltd., 839 F.3d 227, 235 (2d Cir. 2016), in which this Court

treated the appeal as a writ of mandamus and found that the requirements for

issuing the writ were met. Once again, however, this Court has jurisdiction under

28 U.S.C. § 1291 as explained above and below.




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                            II.    ISSUES PRESENTED

      Issue 1: Whether the district court erred in compelling this case to

arbitration under the union CBA, especially where Defendants have now admitted

that they failed (unlawfully and egregiously) to notify the union of Plaintiff and his

employment, where Plaintiff did not know he was in a union, and where the union

did not know of Plaintiff during his employment.

             Standard of Review (“SOR”): De novo.

      Issue 2: Whether the district court had the legal authority including under

FRCP § 60, to vacate its July 23, 2021 order compelling arbitration – whether

finality is required, and if so, whether the subject order was sufficiently final –

especially where the district court does not disagree or dispute that the grounds for

vacating said order are present in the form of Defendants’ unlawful and egregious

conduct in concealing Plaintiff and his employment from the union, and concealing

this material fact from the district court and Plaintiff in the litigation, and where the

sole basis for compelling arbitration was the union CBA.

      Standard of Review (“SOR”): Abuse of Discretion - an error of law like that

committed by the district court is an abuse of discretion. This also appears to be an

issue of first impression for this Court. See i.e In re Shengdatech, Inc. Sec. Litig.,

No. 11 CIV. 1918 LGS, 2015 WL 3422096, at 3 (S.D.N.Y. May 28, 2015) (“The

Second Circuit has not expressly articulated this rule”).


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          III.   STATEMENT OF FACTS/STATEMENT OF CASE

      On August 30, 2020, Plaintiff filed the instant action seeking to recover

unpaid wages and related relief under the FLSA and NYLL. (A7-A18). On

October 26, 2020, Defendants filed a motion to dismiss the case and compel

arbitration under a Union Collective Bargaining Agreement (“CBA”). (A19-A87).

In opposition to the motion, Plaintiff submitted affidavits, arguments and evidence

that he was not a member of the union, never paid union dues, received any union

benefits, or representation, etc. (A88-A143). Plaintiff testified as follows in his

affidavit (A115):

             10. I do not know that I was in a union while I worked for Defendants.
             I was never told that I was in a union. I was never given a copy of the
             document in Exhibit 4 with 16 pages and I was never told about this
             document.

             11. Before this case was filed, I did not know what arbitration was and
             I did not agree to arbitrate anything with Defendants.

      Notably, despite knowing that Plaintiff was not a member of the union,

Defendants never provided this material information to the district court – as

Defendants later admitted after the motion to vacate was filed, Defendants had

unlawfully and egregiously failed to notify the union of Plaintiff and his

employment. On July 23, 2021, the district court compelled arbitration pursuant to

the CBA through a union that did not know of Plaintiff or his employment, and of

which Plaintiff did not know he was a member.


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      After the Court’s order compelling arbitration, Plaintiff’s counsel emailed

defense counsel to obtain information about the union and arbitration as follows

(A171):

      Hope all is well. Writing to follow up on the Pena matter. First, I would like
      to know if you are certain that Mr. Pena was actually in the union and
      covered by the CBA and if so what is the contact information for the people
      at the union who would be handling any mediation/arbitration as as initial
      matter - as we pointed out, the plaintiff didn't know he was in a union
      assuming that is the case.

      Plaintiff’s counsel did not receive the requested information from defense

counsels – likely because they knew all along that Defendants never reported

Plaintiff to the union, wanted to continue their concealment of this material fact,

and knew that as a result there would be no arbitration through the union – and

Plaintiff would be left in limbo in perpetuity.

      Subsequently, Plaintiff’s counsel was able to locate the union which

confirmed that it had no knowledge of Plaintiff, that Plaintiff was not a member

and was not covered by the arbitration provisions in the CBA (A173):

             Mr. Hassan,
             That is correct.
             Mr. pena is not a dues paying Local 1931 Union member and is not
             covered by the local 1931 CBA.

      At this stage, it became clear that Defendants had withheld very material

information from the district court – information that would almost certainly

change the outcome of the arbitration motion as further set forth in the arguments


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below. As such, on August 19, 2021, based on this new and material information,

Plaintiff made a motion to vacate the arbitration order, including under FRCP Rule

60. (A168-A203).

      After the motion to vacate was filed, defense counsels expressed anger and

displeasure via email to the union as follows (A226):

             Mr. Pena's attorney filed a motion with the court to ask the court to
             vacate its decision requiring arbitration. This attorney attached an
             email from wherein you stated that Mr. Pena was not a member of the
             Union, and that he was not covered by the collective bargaining
             agreement. Can you explain to me how that is possible, in light of the
             fact that he worked as an engineer, and Article 2 of the CBA explicitly
             states that engineers are covered by the contract?

      After defense counsels’ email to the union expressing displeasure, the union

purported to change its position to tow the company’s line in an email that the

union provided to defense counsels as follows (A226):

             Mr. Pena was not reported to the Union therefore did not appear in the
             Union data base, however I was mistaken when I stated that Mr Pena
             was not covered by the Collective Bargaining Agreement.
             I would like to retract my e-mail response to Mr. Pena's attorney, with
             sincere apologies to all involved.
             Mr. Pena did in fact work for 63 West as an Engineer which is a
             classification covered and recognized under the CBA.
             The fact that Mr. Pena was an oversight by the company and not
             reported to the Union was the bases for the confusion on my part and
             lead to the inaccurate e-mail response to Mr. Pena's Attorney.
             Mr. Pena is covered by the Collective Bargaining Agreement and the
             Union will be seeking any loses of benefits etc. related to Mr. Pena.

      At this point and despite Defendants attempt at damage control, they had no

choice and finally admitted that they had failed (unlawfully and egregiously) to
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notify the union of Plaintiff and his employment – Defendants’ witness Michele

DiSanto testified as follows in response to the motion to vacate (A228):

             Due to an administrative oversight during, the Union was not notified
             that Plaintiff was hired by 63 West LLC. However, Plaintiff was
             covered by the CBA. All individuals who work as engineers are
             covered by the CBA. If Plaintiff is owed any compensation or monies
             under the CBA, 63 West LLC will work with the Union to ensure that
             Plaintiff receives all that he is entitled to.

      Notably, Defendants did not provide any evidence to support their

conclusory and boilerplate claim of “administrative oversight” – that is precisely

because the type of failure to report an employee to the union that Defendants

engaged in really does not happen in the absence of willfulness and fraud as further

explained below. In this regard, there are numerous steps and processes that must

be followed on a regular basis throughout an employee’s employment in the union

context and it is virtually impossible for all of these steps to be missed by accident

or administrative oversight on a frequent and prolonged basis. Moreover, it appears

that Plaintiff was not the only similarly situation employee who was concealed

from the union by Defendants. (A268).

      On May 3, 2022, the district court denied the motion to vacate on the

grounds that it did not have the legal authority under FRCP § 60 to rule on the

motion to vacate the order compelling arbitration. (A282-A283). Notably, the

district court did not dispute or disagree with Plaintiff that Defendants had engaged

in material misrepresentations and fraud on the court by concealing Plaintiff and
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his employment from the union and then concealing this material fact from the

court, Plaintiff and his counsel – and only reluctantly admitting it after they were

cornered with information obtained from the union.

      Despite an apparent coordinated representation to the district court by the

union and the Defendants, that they will seek to obtain all benefits, wages, etc. that

Plaintiff was entitled to under the CBA, they have done absolutely nothing in this

regard, since making these representations to the district court in September 2021,

and they have still not provided Plaintiff with any benefits whatsoever under the

CBA. It appears that these material representations to the district court by the

union and the Defendants were also false and meant to protect their interest in

order to obtain a favorable judicial outcome - to the unfair detriment of the

Plaintiff and an abuse of the judicial process.

      Having seen no progress in terms of the representations of the union and

Defendants to obtain benefits and compensation for the Plaintiff under the CBA,

Plaintiff’s counsel emailed the union on May 28, 2022 as follows:

             Forwarded message ---------
             From: Ah Lg <legal@abdulhassan.com>
             Date: Sat, May 28, 2022 at 12:26 PM
             Subject: SDNY Case No. 20-cv-07039/2nd Cir. Case No. 21-2031 -
             Pena v. 220 East 197 Realty LLC et al
             To: <cclemenza@esjb.org>, Abdul K. Hassan, Esq.
             <abdul@abdulhassan.com>, <nroa@esjb.org>

             Dear Mr. Clemenza,


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  Hope all is well. As you may recall from prior communications, I
  represent Mr. Pena in the above-referenced action which is now
  before the Second Circuit Court of Appeals on the arbitration issue,
  etc. However, I am writing to follow up on
  the following statements made by you and the defendants:

  Clemenza September 1, 2021 email to Mr. Stuart Weinberger:


        Mr. Pena is covered by the Collective Bargaining Agreement
        and the Union will be seeking any loses of benefits etc. related
        to Mr. Pena.

  Michele DiSanto September 2, 2021 declaration:


        However, Plaintiff was covered by the CBA. All individuals
        who work as engineers are covered by the CBA. If Plaintiff is
        owed any compensation or monies under the CBA, 63 West
        LLC will work with the Union to ensure that Plaintiff receives
        all that he is entitled to.

  Please provide me with an itemization of the wages, benefits and other
  damages/recoveries Mr. Pena would be entitled to through the Union
  CBA. Please also address Mr. Pena's termiantion and rights in
  this regard he has under the Union CBA - such as the right to be fired
  without cause, the right to notice, warnings, etc., the right to union
  representation before, during and after, etc. In order for us to act in the
  best interest of Mr. Pena and not in the interest of the employers,
  please do not share this email with the companies, their
  representatives or agents, etc. Depending on your response, I assume
  the company would be involved at some point. Also, in light of the
  above statements, please also detail what efforts have been made since
  those statements "to ensure that Plaintiff receives all that he is entitled
  to" and that the "Union will be seeking any loses of benefits etc.
  related to Mr. Pena."

  Time is of the essence so please provide me with a response by
  Tuesday, May 31, 2022 by 5:00 p.m.


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      Plaintiff’s counsel did not receive any response from the union to the above

email. Plaintiff’s counsel then followed up on the above email with the union on

June 1, 2022 and but still did not receive any response from the union.

      On June 20, 2022, and for reasons similar to those set forth in the May 28,

2022 email above, Plaintiff’s counsel made a request for this Court to require the

union to attend the July 11, 2022 settlement conference with this Court. The union

received an email copy to this request but never responded to it. On July 5, 2022,

this Court ruled that it could not compel a non-party such as the union to attend but

it also stated in relevant part as follow:

             CAMP urges all parties and counsel to cooperate with each other to
             bring all helpful participants to the mediation. If the union would be
             helpful, CAMP is happy to have them participate.

      The union also received a copy of the above ruling from the Court by email

but once again, the union did not respond or participate - the July 11, 2022

settlement conference was subsequently cancelled. (2nd Cir. Case No. 21-2031,

ECF No. 46).

      It is highly unusual for a union that is supposed to be representing an

employee to refuse to communicate with the employee or that employee’s counsel

or to even respond to the Court. It appears at this stage that the union is taking the

view that it is united in interest with Defendants as both may be legally liable to

the Plaintiff for depriving him of union benefits, representation and membership


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throughout his employment – and that as a legal adversary of the Plaintiff at this

stage, it cannot represent the Plaintiff in any way or even communicate with the

Plaintiff or Plaintiff’s counsel.

      After the Court granted Defendants motion to compel arbitration on July 23,

2021, Plaintiff filed a Notice of Appeal on August 19, 2021. (A204-A205).

However, in light of the motion to vacate that was filed on August 19, 2021, this

Court stayed proceedings here until the motion to vacate was decided by the lower

court and required monthly status reports that were filed by Plaintiff. Following the

lower court’s denial of the motion to vacate on May 3, 2022, Plaintiff filed an

Amended Notice of Appeal on May 11, 2022. (A284-A298). This brief now

constitutes the perfection of the appeal.

                       IV.    SUMMARY OF ARGUMENTS

      The central question before this Court is whether the lower court erred in

compelling arbitration under the union CBA. The answer is yes, for several

compelling reasons.

      First, almost all of the grounds for reversal are linked to Defendants

unlawful and egregious failure to notify the union of Plaintiff and his employment.

This by itself is also an independent reason for denying the motion to compel

arbitration, because not only did Defendants unlawfully conceal Plaintiff and his

employment from the union, but they also concealed this material fact from the


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Court and Plaintiff until they were caught and only admitted it after the motion to

vacate was filed.

      Second, because Defendants unlawfully and egregiously failed to notify the

union of Plaintiff and his employment, the union did not know of Plaintiff and the

Plaintiff did not know he was in a union and did not know of the CBA. As such, as

a matter of law there was not and could not have been a knowing, intelligent,

voluntary, clear and unmistakable waiver of the Constitutional right to a jury trial,

as is required.

      Third, even if there was a valid waiver (there was not), arbitration cannot be

compelled because arbitration jurisprudence does not require arbitration and/or a

stay where the movant is in default in the arbitration process. The arbitration

process begins with the arbitration agreement without which there cannot be any

arbitration. Here, we have an unusual and egregious situation where Defendants

defaulted in the arbitration process from the inception by unlawfully and

egregiously failing to notify the union of Plaintiff and thereby depriving Plaintiff

of the union, the CBA and the arbitration provision throughout his employment.

       Fourth, even if there was a valid waiver (there was not), in the union context

and under Supreme Court precedents such as Barrentine v. Arkansas-Best Freight

Sys., Inc., 450 U.S. 728, (1981), an employee can bring his claims in Court and not

arbitration where the union does not pursue the claims. Here, the union could not


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pursue the claims because of Defendants’ failure to notify the union of Plaintiff

and his employment, and now the union is not communicating with Plaintiff and

his counsel and even with this Court, as set forth in the statement of facts above.

       Fifth, even if there was a valid waiver (there was not), under Supreme Court

and Second Circuit precedents as explained below, arbitration should not be

compelled where there is an actual conflict of interest, bias etc. Here, Plaintiff

likely has claims against both the union and Defendants - because he was

unlawfully deprived of union membership, representation, wages and benefits, etc.

As such, although the union has stopped communicating with Plaintiff and his

counsel and there cannot be arbitration for this reason as well, the profound

conflict of interest here requires a denial of the motion to compel – and because

Defendants conduct is the ultimate source of the conflict, Defendants cannot

complain about any denial of the arbitration motion. It would not be surprising if

the union’s legal counsel has advised it to remain silent in this case going forward

given its legal exposure and jeopardy – that could also go beyond this case if the

failures here to report and represent employees go well beyond Plaintiff and impact

on other workers – as is very likely.

       Sixth, even if there was a valid waiver (there was not), arbitration cannot be

compelled under the effective vindication doctrine recognized by the U.S. Supreme

Court. It is not difficult to conclude that in light of all the negative effects as laid


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out above and below that flowed from Defendants’ unlawful and egregious failure

to report Plaintiff and his employment to the union, Plaintiff cannot effectively

vindicate his statutory rights and claims in arbitration. In fact, no one has explained

or cited any precedent as to how we can go back in time and comply with the

deadlines that have passed, the procedures that were missed, and provide all the

protections and benefits under the CBA that should have been provided long ago –

as the U.S. Supreme Court reminded us in New Prime and Morgan, we simply

cannot pave over bumpy statutory texts and inconvenience facts and make up new

rules in order to get cases into arbitration. In other words, it is not clear at all, how

we can put Humpty Dumpty back together again at this stage, and allowing this

case to move forward in court in the only legally proper and realistic option.

      The other major question before this Court is whether the district court

properly denied the motion under FRCP § 60 to vacate the arbitration order –

Plaintiff had moved to vacate after learning that the union did not know of the

Plaintiff who was not a union member – it was only after the motion to vacate was

filed with this information, that Defendants finally made their blockbuster

admission that they never reported Plaintiff and his employment to the union – the

district court had compelled arbitration solely under the union CBA. The district

court denied the motion to vacate on the sole grounds that it did not have authority

to vacate under FRCP § 60 because in its view, the arbitration order was not


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sufficiently final for purposes of appeal. Notably, the district court did not dispute

or disagree that the egregious conduct of Defendants in concealing Plaintiff from

the union and then concealing this material fact from the Court and Plaintiff, would

be sufficient grounds to vacate the arbitration order if the district court had reached

the merits of the vacate motion. The lower court is wrong for several compelling

reasons.

      First, in the unique circumstances of this case, the arbitration order is

sufficiently final for purposes of appeal under the union statutes as well as under

the FAA – even though the FAA does not apply under Second Circuit precedent

because arbitration was compelled under the union CBA.

      Second, under the plain language of FRCP § 60, the word “final” controls

the word “judgment” but not the word “order.” For example, a statement that food

will be first be given to “old men, women and children,” when reasonably

interpreted, is not limited to old men, old women and old children. The other

interpretation would also violate the absurdity principle because it would allow

fraudulently obtained orders to control and destroy the integrity of the judicial

process and impose serious and even irreversible harm on litigants simply because

such orders are deemed non-final.

      Third, an order can be final for purposes of FRCP § 60, without necessarily

being final for purposes of appeal. In fact, the need for review and vacatur under


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FRCP § 60, is greatly higher in situations where correction of such orders and the

damage they cause is not available through appeal. By way of reinforcement,

orders such as those compelling arbitration unlike routine orders such as discovery

orders, effectively ends the litigation because they stop proceedings in the court

and sends the case outside of court – to a forum that does not have the power to

change or correct judicial orders.

      Fourth, if this court finds that the arbitration order cannot be reviewed and

vacated under FRCP § 60, it should make clear that the district court has the

inherent and general authority to review and vacate the arbitration order outside of

FRCP § 60 – under tis general powers, including but not limited to any ground set

forth in FRCP § 60 – precisely because the order is not final – in the event the

Court finds the order was not sufficiently final (the orders are final for purposes of

appeal as explained above).




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                               V.    ARGUMENTS

      1. DEFENDANTS’ EGREGIOUS CONDUCT IN CONCEALING
         PLAINTIFF AND HIS EMPLOYMENT FROM THE UNION, AND
         THEN CONCEALING THIS MATERIAL FACT FROM THE
         COURT AND PLAINTIFF UNTIL CAUGHT DOING SO, IS
         RELEVANT TO ALMOST EVERY ISSUE AND ARGUMENT
         HEREIN, AND INDEPENDENTLY WARRANTS A DENIAL OF
         THE MOTION TO COMPEL ARBITRATION UNDER THE
         UNION CBA

      At the outset, this Court should make it crystal clear that employers who

violate their obligations and fail to report employees and their employment to the

union – thereby denying those employees of union benefits and representation

during their employment, will not be allowed to compel arbitration under the union

CBA that they deprived the employees of, especially where, as here, those

employers also withheld this material fact from the Court and Plaintiff/Plaintiff’s

counsel during the motion to compel arbitration until they were caught doing so,

and in light of the other points and arguments below.

      There is powerful evidence that Defendants’ omissions/misrepresentations

were intentional and/or in bad faith – thus warranting a complete denial of

Defendants’ motion to compel and an award of fees and costs to Plaintiff. See i.e.

Crum v. Dodrill, 562 F. Supp. 2d 366, 382–83 (N.D.N.Y. 2008)(dismissing

pleading because of material misrepresentations - failure to disclose material

information).



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         First, it is reasonable to conclude that Defendants knew at the time they

briefed the motion to compel that they had failed to report Plaintiff to the union. In

this regard, the central issue at the time Defendants filed their motion was whether

there was a knowing, voluntary, intelligent, clear and unmistakable waiver of the

Constitutional right to a jury trial – obviously, whether the union knew of the

Plaintiff and his employment, is material to the question of whether there was a

knowing waiver by the union on behalf of the Plaintiff, as well as being material to

the many other arguments below. Under FRCP Rule 11, Defendants would have

been required to do at least very basic due diligence such as doing a basic review

of their records which would have revealed that Plaintiff was never reported to the

union and never treated as a union member and was never treated as an employee

covered by the CBA. Second, Plaintiff in his opposition raised serious issues about

whether he was in the union and covered by the CBA during his employment –

certainly, any reasonable defendant would have followed up to verify through its

records whether Plaintiff was a union member and treated as and covered under the

CBA – whether he was reported to the union – Defendants did not need to

investigate because they knew all along that they did not report Plaintiff to the

union.

         Very significantly, is Lahsen Aboul v. Ameritania 54th Associates,

LLC, 2021 WL 3887594 (S.D.N.Y. Aug. 31, 2021), cited by Defendants in the


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district court which involved Defendants’ only witness on their motion to compel

arbitration - Mr. Bienenfeld, as well as one of the defense counsels, as well as the

same union in this case. Specifically, when the issues of union membership and

CBA coverage were raised in Aboul, Mr. Bienenfeld reviewed the relevant records

and stated as follows (Bienenfeld Decl. ¶ 2, ECF No. 55 – SDNY Case No. 19-CV-

9986)(A274-A281):

             Annexed hereto and incorporated herein as Defendants’ Exhibit B are
             true and correct copies of documents showing union dues being
             deducted from Plaintiff Lahsen Aboul’s wages, from December 2018
             until April 2019. The union dues were paid by Plaintiff’s employer,
             Ameritania Hotel, to Amalgamated Local 1931, which was the union
             representing employees who worked at the Ameritania Hotel.

      The above is further powerful evidence that as to the issue of union

membership and CBA coverage in this case/waiver of jury trial right, Mr.

Bienenfeld should have and would have reviewed the records such as the records

about union dues. We can therefore reasonably conclude that the defense in this

case knew that Plaintiff was never reported to the union and only revealed that

information to the Court at this late stage when they had no choice in light of the

union’s email to Plaintiff’s counsel and the motion to vacate. Similarly, defense

counsels never provided Plaintiff’s counsel with the union information when he

requested it from them (A170-A174) – because they obviously knew all along that

Defendants never informed the union of Plaintiff and his employment and they



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wanted to continue the concealment, having already obtained a favorable judicial

ruling because of this material concealment/misrepresentation.

      This Court should make it clear that it will not allow arbitration

jurisprudence to be abused in this manner, and swiftly deny Defendants’ motion to

compel arbitration. This Court should also direct the defense to state when they

acquired knowledge that Plaintiff was never reported to the union and why this

information was not provided to the Court earlier – with full details. Defendants

and the union should also be directed to audit their payroll and employee lists to

ensure that all employees that should be reported to and protected by the union

have been reported and are being protected by the union. See i.e. People v.

DePallo, 96 N.Y.2d 437, 441, 754 N.E.2d 751, 753 (2001) (‘In light of these

limitations, an attorney's duty to zealously represent a client is circumscribed by an

“equally solemn duty to comply with the law and standards of professional conduct

to prevent and disclose frauds upon the court” (id., at 168–169, 106 S.Ct. 988).’.

Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991) (“[A] court has the power to

conduct an independent investigation in order to determine whether it has been the

victim of fraud.”). “The Court's inherent powers serve “to do whatever is

reasonably necessary to deter abuse of the judicial process and assure a level

playing field for all litigants.” Hargrove v. Riley, No. CV-04-4587 (DGT), 2007

WL 389003, at 11 (E.D.N.Y. Jan. 31, 2007). As the Second Circuit pointed out


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in In re Gordon, 780 F.3d 156, 161 (2d Cir. 2015), the duty of candor is basic and

fundamental to judicial proceedings and that this duty applies to acts of

commission as well as acts of omission.

      Next, we can also reasonably conclude that the defense also misrepresented

to the Court the reason why Plaintiff was never reported to the union. In this

regard, Defendants put forth a self-serving and conclusory explanation of

“administrative oversight” (A228), without any supporting details, facts and

evidence. On the other hand, the circumstances and available information

compellingly contradict Defendants’ explanations.

      Notably, the hiring and management of union employees is an elaborate

process that presents numerous opportunities for both the Defendants and the union

to prevent and discover any oversight. For example, there is notice requirement to

the union at time of hiring, firing, with respect to health benefits, retirement

contributions, union dues, etc. – on a weekly basis. See requirements set forth in

CBA at A42-A57.

      Very significantly, as we explained to the district court in the motion to

vacate, based on additional research and information including additional

information obtained from Plaintiff, there are other employees at the building in

which Plaintiff worked who would qualify for union membership/CBA coverage

under Defendants’ interpretation – given that they worked as porters and painters,


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but who may not have been reported to the union by Defendants, and who Plaintiff

believes were not in the union – including, Jonathan (porter), Higinio Jose Penalo

(porter), and Segundo Lagarza (painter). If it turns out that these individuals were

also not reported to the union, it will also destroy Defendants’ conclusory and

unsupported claim of “administrative oversight” and show that there was an

intentional and widespread failure to report employees to the union – which in

effect results in the employees, being defrauded by Defendants – of significant

amounts of wages, benefits, etc.

      Unfortunately, because union employment comes at greater costs to

employers – in the form of wages, benefits, etc., it is not uncommon for

unscrupulous employers to employ and conceal employees from the union that

should be in the union – and as this case shows, such bad behavior by such

employers is usually directed at vulnerable employees like Plaintiff with language

challenges, and who are generally not otherwise able to ascertain and assert their

rights during their employment. Adding insult to injury, Defendants would like

this Court to bless their egregious and improper failure to report Plaintiff, and to

send this case to their handpicked arbitrators named in the CBA, so that

Defendants face no meaningful consequence and their egregious conduct and

violation of employees’ rights continues – rinse and repeat – this Court should not

endorse this conduct. Ironically, the only time Defendants want Plaintiff to be


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covered by the CBA is when they want to use the CBA to conceal their total

violation of the CBA itself during Plaintiff’s employment. This Court should reject

such abuse of arbitration jurisprudence by Defendant and swiftly deny the motion

to compel arbitration and reverse the rulings of the district court.

      2. THERE WAS NOT AND COULD NOT BE A KNOWING,
         VOLUNTARY, CLEAR AND UNMISTAKABLE WAIVER OF
         THE CONSTITUTIONAL RIGHT TO A JURY TRIAL UNDER
         THE CBA – WHERE PLAINTIFF DID NOT KNOW HE WAS IN A
         UNION – BECAUSE HE WASN’T, AND WHERE THE UNION
         DID NOT KNOW OF PLAINTIFF – BECAUSE OF THE
         EGREGIOUS CONDUCT OF DEFENDANTS IN NOT
         REPORTING PLAINTIFF AND HIS EMPLOYMENT TO THE
         UNION

      Although there are questions that require additional discovery as to whether

Plaintiff was covered by the CBA, this Court can conclude as a matter of law that

even if Plaintiff was covered by the CBA, Plaintiff’s right to a jury trial was not

waived, because it is not disputed and genuinely disputed that Plaintiff did not

know he was a union member (because he was not) , the union did not know of

Plaintiff, and in light of Defendants’ damning admission – only after the FRCP §

60 motion to vacate was filed, that Defendants violated their legal obligations and

failed to notify the union of Plaintiff and his employment.

      The district court stated in relevant part as follows (Pena v. 220 E. 197

Realty LLC, No. 20-CV-7039 (JPO), 2021 WL 3146031, at *3 (S.D.N.Y. July 23,

2021):


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             Pena argues that he “was not ... aware that he was in a union” and
             therefore could not be bound by the terms of the collective bargaining
             agreement. (Dkt. No. 18 at 11.) But Pena's supposed lack of
             awareness is irrelevant. Under the terms of the agreement, the union is
             recognized as the “sole and exclusive bargaining agent for all full and
             regular part-time employees.” (Dkt. No. 14–3 art. 2.)

      We will explain below that the district court is wrong as to the effect of

“Pena’s supposed lack of awareness” – the district court seemed uncertain about

Plaintiff’s lack of awareness because the district court seem to place a lot of blind

trust in Defendants and it was only after the motion to vacate when Defendants

were caught red handed, that Defendants made their damning admission that they

never reported Plaintiff and this employment to the union. However, it is notable

that the district court did not conclude that the union’s lack of awareness of Pena

was irrelevant. Moreover, the district court failed to distinguish between general

employment terms/conditions such as hours and wages, and the waiver of a

Constitutional right to a jury trial which is subject to a very high standard –

knowing, voluntary, intelligent, clear and unmistakable.

      It is well settled, that even if an employee can be covered by a CBA with an

arbitration provision, the employee will not be required to arbitrate his claims

unless the high standard for waiver of the Constitutional right to a jury trial is met.

See i.e. Lawrence v. Sol G. Atlas Realty Co., 841 F.3d 81, 83 (2d Cir. 2016).

      Because the arbitration at issue here requires the waiver of the Constitutional

right to a jury trial, Defendants must not only show the existence of such an
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agreement/waiver, they must also show that such a waiver was knowing, voluntary

and intelligent. Brady v. United States, 397 U.S. 742, 748, 90 S. Ct. 1463, 1469,

25 L. Ed. 2d 747 (1970) ("Waivers of constitutional rights not only must be

voluntary but must be knowing, intelligent acts done with sufficient awareness of

the relevant circumstances and likely consequences."). Nat'l Equip. Rental, Ltd. v.

Hendrix, 565 F.2d 255, 258 (2d Cir. 1977) ("It is elementary that the Seventh

Amendment right to a jury is fundamental and that its protection can only be

relinquished knowingly and intentionally. Indeed, a presumption exists against its

waiver.).

      See also, God's Battalion of Prayer Pentecostal Church, Inc. v. Miele

Associates, LLP, 6 N.Y.3d 371, 374, 812 N.Y.S.2d 435, 437, 845 N.E.2d 1265,

1267 (2006) ("A party to an agreement may not be compelled to arbitrate its

dispute with another unless the evidence establishes the parties' 'clear, explicit and

unequivocal' agreement to arbitrate.."). Consistent with these requirements, this

Court in the union context has also required that a waiver of the Constitutional

right to a jury trial to be “clear and unmistakable.” See i.e. Lawrence v. Sol G.

Atlas Realty Co., 841 F.3d 81, 83 (2d Cir. 2016) (“The issue is whether the CBA

governing Plaintiff’s employment contains a “clear and unmistakable” waiver of

Plaintiff’s right to pursue his statutory claims in federal court.”).




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      A motion to compel arbitration is this context is evaluated under the

summary judgment standard. . See i.e. Nicosia v. Amazon.com, Inc., 834 F.3d 220,

229 (2d Cir. 2016). Defendants not only have to satisfy the very high standard for

waiver of the precious Constitutional right to a jury trial, they have to submit

sufficient, competent and admissible evidence from persons with actual and

personal knowledge and do so beyond genuine as to every material fact – they

have failed miserably to so do.

      Moreover, a unanimous U.S. Supreme Court in See i.e. New Prime Inc. v.

Oliveira, 139 S. Ct. 532, 535 (2019), reminded us that ‘Courts, however, are not

free to pave over bumpy statutory texts in the name of more expeditiously

advancing a policy goal. Rather, the Court should respect “the limits up to which

Congress was prepared” to go when adopting the Arbitration Act.’ More recently,

a unanimous U.S. Supreme Courtin Morgan v. Sundance, Inc., 142 S. Ct. 1708,

1714, 212 L. Ed. 2d 753 (2022), reminded us again that courts ‘may not make up a

new procedural rule based on the FAA's “policy favoring arbitration.”’ These

successive and important reminders from unanimous U.S. Supreme Court panels

were necessary because arbitration jurisprudence was starting to resemble a

massive paving operation – with courts “pav[ing] over bumpy statutory texts” and

inconvenient facts, while they “make up [] new procedural rule[s] based on the

FAA’s policy favoring arbitration.” As such, there is no policy favoring arbitration


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where there is not a knowing, voluntary, intelligent, clear and unmistakable waiver

of the right to a jury trial, or where arbitration is not otherwise required as set forth

herein. Similarly, there is no policy favoring the granting of a motion to compel

arbitration where there are genuine issues of material fact that require a jury trial,

after all reasonable inferences are drawn in Plaintiff’s favor and all doubts resolved

in Plaintiff’s favor as well.

      In the union context, the union can waive the Constitutional right to a jury

trial on behalf of an employee in the right circumstances – in essence, under the

theory of agency – that the union is the agent of the employee. However, it is

obvious as a matter of law that there cannot be a knowing waiver by an employee

through the union as an agent, where the employee does not know he is in a union

and knows nothing of the waiver, and where the union knows nothing of the

employee – the essential element of a knowing waiver is therefore missing in this

case – especially where it appears that the movants intentionally and fraudulently

concealed Plaintiff and his employment from the union. Here, after Plaintiff

testified that he did not know he was a union member (because he was not), (A115

¶ 10), and after the union stated it did not know of Plaintiff and his employment

(A175; A226), Defendants finally admitted that they violated their legal

obligations and never reported Plaintiff and his employment to the union. (A227-

A228). We know of no case where arbitration was compelled and a waiver of the


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Constitutional right to a jury trial was found in these circumstances – because the

union usually is not ignorant about those it represents unless there is some fraud by

the employer, in concealing the employee and employment.

      A ruling that there was no waiver by Plaintiff under the required standard, is

not only obvious and required by settled principles of constitutional, arbitration

and labor jurisprudence, it is also absolutely required to prevent fraud and

exploitation of workers like Plaintiff and to prevent a gross undermining of

arbitration and labor laws. Such a ruling would prevent employers and/or unions

from keeping workers out of unions, depriving them of the union protections and

benefits, and when the employee tries to vindicate his statutory rights in court,

fraudulently attempt to force him to arbitrate through a union that did not even

know of Plaintiff’s existence and cannot even conduct an arbitration in these

circumstances in the first place.

      In the union context, notice, knowledge and ratification of the waiver of the

Constitutional right to a jury trial is usually provided during the hiring process, and

through the CBA which is ratified by union membership and made available to all

those covered by it. However, because it is now undisputed that Defendants never

reported Plaintiff and his employment to the union, Plaintiff was never provided

with union information and arbitration information through the hiring process,

through the CBA or otherwise. In terms of the purported collective bargaining


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agreement (“CBA”), Plaintiff was never provided with a copy of the CBA nor was

he ever informed about the CBA. (A115 ¶ 10). In fact, Plaintiff was not even aware

that he was in a union (A115 ¶ 11), and had no idea what arbitration is (A115 ¶

11). See also, Mazza v. Dist. Council of New York, No. CV-00-6854 BMC CLP,

2007 WL 2668116, at 16 (E.D.N.Y. Sept. 6, 2007)(“Should plaintiff prevail in

proving that the CBA applied to other projects and that he performed covered work

on those projects, a reasonable jury could find that the Union acted arbitrarily or in

bad faith by failing to so much as notify the employees that there was a CBA and a

Union in place.”). That “bad faith” here at minimum, came from Defendants, who

failed to report Plaintiff and his employment to the union – thereby depriving

Plaintiff of the union, the CBA, union wages and benefits throughout his

employment. This Court should make it clear that given the requirement that the

waiver of a Constitutional right be knowing, the employee must be provided with

sufficient and adequate notice and knowledge that the union has waived the

employee’s constitutional right to a jury trial – such as through the hiring process

and by actually providing the employee with written documents such as the CBA.

      In addition, while the Court can stop here and decide this appeal in

Plaintiff’s favor, there is more. In this regard, any notice and knowledge of the

waiver of the constitutional right to a jury trial is not effective unless it is done in a

language that is understood by an employee.


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      In this regard, all of the purported agreements in this case including the

purported CBA are written in English but Plaintiff is Spanish speaking and could

not read or understand the agreements as written in the English, even when

presented to him after this case was filed. (See A114. ¶ 6-9). In Solis v. ZEP LLC,

No. 19CV4230 (JGK), 2020 WL 1439744, at 6 (S.D.N.Y. Mar. 24, 2020) the Court

stated in relevant part as follows:

             Ortiz, like Solis, is illiterate in English. The evidence shows that, like
             Solis, Ortiz was made to sign the purported arbitration agreement
             under circumstances in which he had no meaningful opportunity to
             have the document translated into Spanish. The purported arbitration
             agreement is therefore not enforceable and the motion to compel
             Ortiz to arbitrate his claims is denied.

       In addition to Solis, and even though NYLL § 195 does not specifically

mention arbitration agreements, it evinces New York’s policy of requiring

employers to provide important employment documents and information to

employees in a language they can easily understand such as their primary language

– something that also seems to be a matter of logic and common sense.

      At minimum, a reasonable jury can easily and reasonably conclude that there

was no knowing, voluntary, intelligent, unambiguous, clear and unmistakable

waiver of the Constitutional right to a jury trial. This Court recently reversed an

arbitration ruling on the grounds that factual disputes required a jury trial. See i.e.

Barrows v. Brinker Rest. Corp., 36 F.4th 45, 49 (2d Cir. 2022)(At this stage, we do

not know. But in deciding a motion to compel arbitration, as for a summary
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judgment motion, “a court must not weigh the evidence, or assess the credibility of

witnesses, or resolve issues of fact.” Kulak v. City of New York, 88 F.3d 63, 71

(2d Cir. 1996). And to the extent this case turns on Barrows's (and on Brinker's)

credibility or trustworthiness, the place to sort it out is, as the FAA provides, at

“trial.” 9 U.S.C. § 4.).

       Here, this case is much more compelling in Plaintiff’s favor than in

Barrows. In this regard, the dispute in Barrow’s involved competing affidavits but

here after being caught red handed, Defendants were forced to make the damming

admission that they never reported Plaintiff and his employment to the union in the

first place. Moreover, a reasonable jury can easily conclude that Defendants are not

credible because they dishonestly and fraudulent concealed Plaintiff from the

union for financial gain, then withheld that information from the Court – and as a

result they can disbelieve Defendants and find that there was no waiver as required

by law. In light of these falsehoods, a jury can also disbelieve all of the defense

representations and evidence and testimony for this reason as well especially under

the jury instruction Falsus in uno, falsus in omnibus.

       3.     ARBITRATION CANNOT BE COMPELLED IN THIS CASE
              BECAUSE OF DEFENDANTS PROFOUND DEFAULT AND
              EGREGIOUS CONDUCT.

       Arbitration jurisprudence – whether under the FAA or the union statutes,

does not require arbitration where the movant is in default. See i.e. Pre-Paid Legal


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Servs., Inc. v. Cahill, 786 F.3d 1287, 1294 (10th Cir. 2015)(“Alternatively, lifting

the stay was permissible under § 3 because Mr. Cahill was “in default in

proceeding with [the] arbitration.” 9 U.S.C. § 3. Section 3 does not require a stay

when the applicant for the stay is in default.”).

      Although default generally involves delays in moving for arbitration, the

default here is more profound in its very nature and the fact that it occurred from

the inception - that Defendants violated their legal obligations by failing to report

Plaintiff and his employment to the union – without such knowledge, there could

be no union involvement, no application of the CBA and arbitration process, and

this case was properly and correctly commenced in court as a result. The

arbitration process begins with the arbitration agreement itself, and Defendants

defaulted in the arbitration process from the very first step, by depriving Plaintiff

of the union, the CBA and the arbitration provision in it.

      This Court should make it clear that defendants who conceal an employee’s

identity and employment from the union, cannot then seek to compel that

employee to arbitrate through the union. This conclusion is consistent with and

may even be required by the recent unanimous U.S. Supreme Court decision in

Morgan v. Sundance, Inc., 142 S. Ct. 1708, 1714, 212 L. Ed. 2d 753 (2022), where

the Court stated in relevant part as follows:

             Stripped of its prejudice requirement, the Eighth Circuit's current
             waiver inquiry would focus on Sundance's conduct. Did Sundance, as
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             the rest of the Eighth Circuit's test asks, knowingly relinquish the right
             to arbitrate by acting inconsistently with that right? See supra, at 1711
             - 1712. On remand, the Court of Appeals may resolve that question, or
             (as indicated above) determine that a different procedural framework
             (such as forfeiture) is appropriate. See supra, at 1712. Our sole
             holding today is that it may not make up a new procedural rule based
             on the FAA's “policy favoring arbitration.”

      Here, the conduct that warrants waiver/forfeiture of arbitration by

Defendants is a lot worse than the conduct in Morgan. In this regard, and as set

forth above, Defendants egregiously defaulted from the inception by failing to

notify the union of Plaintiff and of his employment – thereby depriving Plaintiff of

the union, the CBA and the arbitration provision in it. Moreover, while seeking to

compel arbitration under the CBA, Defendants by their egregious conduct acted as

if the CBA and its arbitration provision did not exist at all and violated every

aspect of the CBA during Plaintiff’s employment – including the CBA provisions

regarding wages, benefits, termination only for good cause and many other

procedural benefits and safeguards. In other words, Defendants concealed the

union, the CBA and the arbitration provision from Plaintiff throughout his

employment and now seek to hold up the CBA when they want to benefit from it at

Plaintiff’s expense – such one-sided and abusive behavior by Defendants in not

consistent with arbitration jurisprudence and must be rejected by this Court as a

matter of law.




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          4. ARBITRATION CANNOT BE COMPELLED BECAUSE THE
             UNION HAS EFFECTIVELY DECLINED

      It is well settled that when a union does not pursue an employee’s claim

through the arbitration process, the employee has a right to bring those claims in

Court. See Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728 (1981).

This is especially so in a case like this one where we are dealing with FLSA claims

which cannot be waived or forfeited as a matter of law. Brooklyn Savings Bank v.

O’Neil, 324 U.S. 697 (1945), Cheeks v. Freeport Pancake House, Inc., 796 F.3d

199 (2d Cir. 2015).

      Here, the union has effectively declined to pursue arbitration and for this

reason as well, Plaintiff is free to move forward in court and the motion to compel

must be denied. In this regard, as set forth above, the union has stopped

communicating with Plaintiff after receiving an angry email from defense counsel

expressing Defendants’ displeasure with the union and the information the union

had provided to Plaintiff. Notably, the union did not even respond to this Court and

the efforts to have it participate in the mediation scheduled by this Court – as set

forth in the statement of facts above. Significantly, it is also reasonable to conclude

that the union views itself at this point as the legal adversary of the Plaintiff and

therefore cannot represent Plaintiff in this matter – given that Plaintiff may have

legal claims against both the union and Defendants because Plaintiff was



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unlawfully deprived of union benefits, wages and representation throughout his

employment.

      In Cota v. Art Brand Studios, LLC, No. 21-CV-1519 (LJL), 2021 WL

4864588, at 11–12 (S.D.N.Y. Oct. 15, 2021), the court refused to compel

arbitration because of difficulties in moving forward with arbitration involving the

defense and third party (AAA) – here we have difficulties with the defense and a

third party (the union):

              These rulings are a logical corollary to the proposition that the
              “district court can[not] force an independent arbitration organization
              such as the AAA to ignore its own rules and re-open a case that it has
              previously closed.” Steffanie A., 2020 WL 4201948, at *4. To grant
              a stay in these circumstances would be to place the parties in a
              perpetual state of uncertainty—unable to proceed with the arbitration
              pursuant to that tribunal's rules but also unable to proceed with a
              litigation because the arbitration has not reached its
              conclusion. See Sink, 352 F.3d at 1201. That result would be precisely
              contrary to “[a] prime objective of an agreement to arbitrate,” which is
              “to achieve ‘streamlined proceedings and expeditious results.’”

      Similarly, in this case, the union cannot be forced to conduct an arbitration –

especially where Defendants failed to include the union in their motion and in light

of the other points raised – conflict of interests, etc. In Brown v. Dillard's, Inc., 430

F.3d 1004, 1012-1013 (9th Cir. 2005), the Court of Appeals stated in relevant part

as follows:

              On the assumption that Brown's narrative is true, this case displays a
              dark side of our nation's policy in favor of arbitration … The
              American Arbitration Association could not compel Dillard's to pay
              its share of the filing fee, and in the absence of the fee it could not
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             proceed. Brown had no choice but to come to court. Many people in
             Brown's position would simply have given up.
             To promote our national policy in favor of arbitration, see Southland
             Corp. v. Keating, 465 U.S. 1, 10, 104 S.Ct. 852, 79 L.Ed.2d 1 (1984),
             we must decline to compel it in this case.

      In light of the union’s refusal to respond to Plaintiff and even the Court, it is

really not possible for arbitration to occur in this matter and Plaintiff has suffered

too much expense and delays already – Plaintiff also does not want to be pushed

out of court, given the runaround in perpetuity and have to rely on the very

persons/entities that fraudulently kept him out of the union in the first place and

deprived him of lots of money and benefits as a result.

      Defendants argue that if the union does not represent Plaintiff or pursue the

claims, the CBA requires the Plaintiff to arbitrate his claims individually.

However, the union does not have any authority whatsoever to enter into any

agreement requiring the Plaintiff to conduct arbitration by himself without the

union or to obligate Plaintiff to pay for such arbitration – especially in light of the

other arguments and the powerful fact that Defendants concealed Plaintiff and his

employment from the union and there was never any knowing, voluntary,

intelligent, clear and unmistakable waiver of the Constitutional right to a jury trial

in the first place. The authority of the union to bargain is derived from the various

union statutes and the right to a jury trial comes from even higher authority in the

Constitution - Defendants have pointed to nothing in those statutes that authorized


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the union to enter into an agreement to require the employee to arbitrate alone

without the union and to pay for such arbitration – this would be the opposite of

collective bargaining. Enforcing such a provision would also violate Plaintiff’s due

process rights as he never agreed to it and the union was never authorized to enter

such an agreement on behalf of Plaintiff. Also problematic, is the pre-selection of

two certain mediators that were picked by the union and the Defendants who at this

point are united in interest against the Plaintiff.

          5. ARBITRATION CANNOT BE COMPELLED BECAUSE OF
             AN INTOLERABLE CONFLICT OF INTEREST AND
             EMPLOYER OVERREACHING

      Although a generalized concern about conflict of interest and about the

union pursuing the claims less vigorously may not be enough, ((14 Penn Plaza

LLC, 556 U.S. at 269–70; Barrentine, supra, at 742), specific and actual concerns

are enough and are present here. By way of reinforcement, this Court in

Abdullayeva v. Attending Homecare Servs. LLC, 928 F.3d 218, 225 (2d Cir. 2019),

recognized that issues such as conflict of interest bias and bad faith as to arbitrators

(and by extension unions) are grounds for not compelling arbitration when it stated

that, “Abdullayeva does not argue that Article 8(B)’s procedures are lacking in

notice, or that the selected arbitrator is biased or would conduct arbitration

proceedings in bad faith.”




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      Unlike statutes like the ADEA in Penn Plaza, the concern about employer

overreaching and collusion is ever present and material in FLSA cases as explained

in Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir. 2015), and other

cases examining the handling and potential waiver of FLSA and NYLL claims. See

i.e. Wolinsky v. Scholastic Inc., 900 F. Supp. 2d 332, 335–36 (S.D.N.Y. 2012)

(discussing “the possibility of fraud or collusion.”). In any event, conflict of

interest, or even the appearance of conflict of interest, has always been grounds for

disqualifying persons and entities from representing those as to whom they have a

conflict of interest or the appearance of conflict of interest.

      We have a troubling situation where both the Defendants and the union are

very likely liable for unfair labor practices in failing to represent and provide

Plaintiff with benefits – if as Defendants and the union claim, Plaintiff was covered

by the CBA but did not receive benefits and representation he was entitled to. As

such, we have a situation where there is legal conflict of interests between Plaintiff

on one hand, and the employer/union on the other hand, who together may be

subject to legal action by Plaintiff and who can currently be viewed as legal

adversaries of Plaintiff. See i.e., Bowen v. U.S. Postal Serv., 459 U.S. 212, 103 S.

Ct. 588, 74 L. Ed. 2d 402 (1983)(“established that the employee's damages were

caused initially by the Postal Service's unlawful discharge and were increased by

the union's breach of its duty of fair representation, apportionment of the damages


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was required.”). See also, United States v. Prevezon Holdings Ltd., 839 F.3d 227,

242 (2d Cir. 2016)(“For the reasons given above, we grant the petition for a writ of

mandamus and instruct the district court to enter an order disqualifying Moscow

and Baker Hostetler from representing Prevezon in this litigation.”). We may also

learn even more damning information in discovery that may deepen this conflict of

interests, etc. As such, there is a real and actual conflict of interest, or at minimum,

the appearance of a conflict of interests with regard to the claims in this action that

requires denial of the motion. As such, the motion to compel arbitration must be

denied and the district court’s orders must be reversed.

      In addition, we have a serious problem of employer overreaching which is

the main reason in Cheeks for requiring judicial oversight of the handling and

potential waiver. In other words, it strongly appears that the union is under the

strong influence and control of the Defendants with respect to the claims in this

action. Nonetheless, we have a situation here, where the union changed its position

after outreach/overreach by Defendants. A reversal of the union position, by itself

and in the context of this case, can lead a reasonable jury to conclude that the union

will not “support the claim vigorously in arbitration.” Barrentine, 450 U.S. at 742

– a specific and actual problem in this case. Even worse, any attempt by the union

to reverse course based on the employer’s outreach and overreach to the union, can

lead a reasonable jury to conclude that the union is changing its position because of


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the employer’s overreaching and pressure, and/or that any change in position is

designed to help the employer and itself, and harm the Plaintiff – contrary to the

union’s proper role and such a reasonable jury can conclude as a result that the

union will not “support the claim vigorously in arbitration.” Barrentine, 450 U.S.

at 742 – or not at all, a specific and actual problem in this case. Because

Defendants created the conflict and overreaching as set forth above, Defendants

cannot press arbitration under the purported union agreement and cannot be heard

to complain.

               6. DEFENDANTS MOTION MUST ALSO BE DENIED
                  BECAUSE EVEN IF THE CBA CONTROLS, IT REQUIRES
                  MEDIATION AND NOT ARBITRATION AT THIS STAGE

      We have set forth above Defendants failed to establish the required meetings

of the minds and that the CBA does not require arbitration in this case in light of

Barrentine, etc. However, even if the dispute resolution provision of the CBA

controls, denial of Defendants’ motion to compel arbitration is required. In this

regard, the CBA states in relevant part as follows Article 15, Section 5 (c)(A49):

               Whenever the parties are unable to resolve a grievance alleging a
               violation of any of the Covered Statutes, before the matter is
               submitted to arbitration, the dispute shall be submitted to mandatory
               mediation.
               No party may proceed to arbitration prior to completion of the
               mediation process as determined by the Mediator.




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      In other words, the very agreement relied upon by Defendants to compel

arbitration specifically precludes arbitration at his stage and instead requires

mediation. Once again, however, none of the purported agreements replied upon

by Defendants including the CBA controls – especially given that they require

Plaintiff to pay the cost of mediation and Plaintiff never agreed to any such thing

and no one was authorized to bind the Plaintiff to any such thing. (See A115 ¶ 12).

      The district court does not dispute that this material requirement of the CBA

was never satisfied. However, the district court argued in relevant part as follows

Pena v. 220 E. 197 Realty LLC, No. 20-CV-7039 (JPO), 2021 WL 3146031,

(S.D.N.Y. July 23, 2021) (A164):

             Pena argues that Defendants cannot compel arbitration on the basis of
             this provision because the provision requires the parties to submit to
             mediation first. (Dkt. No. 18 at 21.) It is true that the multi-step
             grievance procedure outlined in the agreement requires mediation
             “before the matter is submitted to arbitration.” (Dkt. No. 14–3 § 5(c).)
             But this does not preclude Defendants’ motion. In Abdullayeva, for
             example, the Second Circuit directed the district court to compel
             arbitration where, as here, the provision in question allowed
             employees to submit individual claims to arbitration “following the
             conclusion of mediation.” 928 F.3d at 224 (internal citation omitted).

      However, although the mediation before arbitration requirement was present

in Abdullayeva, there is no indication that the issue and argument here as to this

provision was raised by the parties and addressed by the Court in Abdullayeva. See

Waters v. Churchill, 511 U.S. 661, 678 (1994)(“cases cannot be read as foreclosing

an argument that they never dealt with”). Condition precedents are very common
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in contracts and law, and it is well settled that such condition precedents must be

satisfied before breach is found. Even assuming the grievance procedure in the

CBA applies. The only reason there was no mediation through that provision is

because of Defendants’ illegal and wrongful conduct in not reporting Plaintiff and

his employment to the union – thereby depriving Plaintiff of the union, the CBA

and the grievance procedure in it, until we were far along in court, and it was too

late. If the CBA must be followed, then it must be followed – not just convenient

parts, and here, it is solely Defendants fault that the condition precedents were not

satisfied and denial of Defendants motion to compel is warranted as a result.

                7. ARBITRATION CANNOT BE COMPELLED IN THIS
                   CASE UNDER THE EFFECTIVE VINDICATION
                   DOCTRINE

      The U.S. Supreme Court has held that arbitration should be denied under the

effective vindication doctrine where the claims cannot be effectively vindicated in

arbitration especially highly protected statutory claims like those in this case under

the FLSA and NYLL. See Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228, 235

(2013).

      In this regard, even if there was a valid waiver (there was not), arbitration

cannot be compelled under the effective vindication doctrine recognized by the

U.S. Supreme Court. It is not difficult to conclude that in light of all the negative

effects as laid out above that flowed from Defendants’ unlawful and egregious

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failure to report Plaintiff and his employment to the union, Plaintiff cannot

effectively vindicate his statutory rights and claims in arbitration. In fact, no one

has explained or cited any precedent as to how we can go back in time and comply

with the deadlines that have passed, the procedures that were missed, and provide

all the protections and benefits under the CBA that should have been provided long

ago. In other words, it is not clear at all, how we can put Humpty Dumpty back

together again at this late stage, and allowing this case to move forward in court is

the only legally proper and realistic option.

          8. THE DISTRICT COURT HAD LEGAL AUTHORITY TO
             REVIEW AND DECIDE THE MOTION TO VACATE,
             INCLUDING UNDER FRCP § 60

      This Court reviews an order denying a motion to vacate under FRCP § 60

for abuse of discretion and it is well settled that an error of law is an abuse of

discretion. Here, the Court committed an error of law when it ruled that it did not

have the legal authority under FRCP § 60(b) to hear and decide the motion to

vacate. See i.e. Adam Bruzzese, v. Merrick B. Garland, No. 21-1448, 2022 WL

1669191, at 1 (2d Cir. May 26, 2022)(“The denial of a Rule 60(b) motion is

generally reviewed for abuse of discretion; denial of a Rule 60(b)(4) motion,

however, is reviewed de novo. See Meilleur v. Strong, 682 F.3d 56, 64 (2d Cir.

2012); Cent. Vt. Pub. Serv. Corp. v. Herbert, 341 F.3d 186, 189 (2d Cir. 2003).”).




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      In denying the motion to vacate, the district court stated in relevant part as

follows (A287):

             Rule 60(b) provides that “the court may relieve a party . . . from a
             final judgment, order, or proceeding for” any of the reasons stated
             therein. Fed. R. Civ. P. 60(b) (emphasis added). “The standard test for
             whether a judgment is ‘final’ for Rule 60(b) purposes is whether the
             judgment is sufficiently ‘final’ to be appealed.” In re Shengdatech,
             Inc. Secs. Litig., No. 11 Civ. 1918, 2015 WL 3422096, at *3
             (S.D.N.Y. May 28, 2015) (alteration omitted) (collecting cases).

             The Court’s July 23, 2021 Opinion and Order does not fall within the
             ambit of Rule 60(b). An order compelling arbitration and staying
             litigation is not a final judgment, order, or proceeding.

      The Court’s denial of the motion to vacate on these grounds was legally

erroneous for several compelling reasons.

      First, in the unique circumstances of this case, the arbitration order is

sufficiently final for purposes of appeal under the union statutes as well as under

the FAA – even though the FAA does not apply under Second Circuit precedent

because arbitration was compelled under the union CBA – as explained under the

jurisdiction section above.

      Second, under the plain language of FRCP § 60, the word “final” controls

the word “judgment” but not the word “order.” For example, a statement that food

will be first be given to “old men, women and children,” when reasonably

interpreted, is not limited to old men, old women and old children. The other

interpretation would also violate the absurdity principle because it would allow


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fraudulently obtained orders to control and destroy the integrity of the judicial

process simply because they are deemed non-final.

      Third, an order can be final for purposes of FRCP § 60, without necessarily

being final for purposes of appeal. In fact, the need to review and vacate under

FRCP § 60, is greatly higher in situations where correction of such orders and the

damage they cause is not available through appeal. By way of reinforcement,

orders such as those compelling arbitration unlike routine orders such as discovery

orders, effectively ends the litigation because they stop proceedings in the court

and sends the case outside of court – to a forum that does not have the power to

change or correct judicial orders.

      Fourth, if this court finds that the arbitration order cannot be reviewed and

vacated under FRCP § 60, it should make clear that the district court has the

general and inherent authority to review and vacate the arbitration order outside of

FRCP § 60 and should do so – under its general and inherent powers, including but

not limited to any ground set forth in FRCP § 60 – precisely because the order is

not final – in the event the Court finds the order was not sufficiently final (the

orders are final for purposes of appeal as explained above).




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                                VI.    CONCLUSION

      Based on the foregoing, it is respectfully requested that this Honorable Court

grant Plaintiff’s appeal in its entirety and: 1) reverse the orders of the district court

and deny Defendants’ motion to compel arbitration in its entirety and allow this

case to proceed in federal court without further delay; and 2) grant Plaintiff such

other, further and different relief in his favor as this Court deems just and proper.

Dated: Queens Village, New York
       August 26, 2022

Respectfully submitted,

Abdul Hassan Law Group, PLLC

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                       CERTIFICATION PURSUANT TO
                       Fed. R. App. P. 32(a)(7)(B) and (C)

      The undersigned hereby certifies that the foregoing brief complies with the
type-volume limitation of Fed. R. App. P. 32(a)(7)(B) and (C) because the brief
contains 11,797 words of text.

      The brief complies with the typeface requirements of Fed. R. App. P.32(a)
(5) and the type style requirements of Fed.R.App.P.32(a)(6) because this brief was
prepared in a proportionally spaced typeface using Microsoft Word 2003, Times
New Roman, Size 14.


Dated: August 26, 2022

                                               Abdul Hassan, Esq.




db
